                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE



 ADVENTIST HEALTH SYSTEM/                        )
 SUNBELT, INC.                                   )
                                                 )
 V.                                              )              NO. 2:10-CV-189
                                                 )
 KATHLEEN SEBELIUS, Secretary                    )
 United States Department of Health and          )
 Human Services                                  )


                         REPORT AND RECOMMENDATION

       Both parties to this suit have filed motions for summary judgment, (Doc. 17, Doc. 19).

 The district judge has referred these motions to the magistrate judge for a report and

 recommendation.1 Disposition by summary judgment is appropriate since the issue is one

 of law only.

       The plaintiff operates two hospitals in Tennessee, one in Greeneville, and one in

 Madison. These hospitals render medical services to low-income patients. Plaintiff claims

 that the Department of Health and Human Services (hereafter “federal government’) owes

 it approximately Five Million Dollars for reimbursement for services its hospitals rendered

 to low-income patients for the years 1995 to 2000.

       Under Title XVIII of the Social Security Act, the Medicare program, the federal

 government reimburses hospitals for certain medical expenses provided to the elderly and



       1
        Doc. 24.


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 disabled. Under Title XIX, which is the Medicaid program, the federal government

 financially assists the states in providing medical care to low-income patients. 42 U.S.C. §

 1396a sets out the requirements for state Medicaid plans. For a state to receive federal

 assistance for medical services rendered to low-income individuals, that state must submit

 a plan for approval by the Secretary of the Department of Health and Human Services.2 The

 only state expenditures eligible for matching federal payments are those that are made under

 a plan approved by the Secretary.3

        To encourage the states to “experiment” and develop programs to “assist in promoting

 the objectives” of Medicaid, 42 U.S.C. § 1315 authorizes the Secretary to waive compliance

 with the general statutory requirements set out in 42 U.S.C. § 1396a for state Medicaid plans:

               (a) Waiver of State plan requirements; costs regarded as State
               plan expenditures; availability of appropriations

               In the case of any experimental, pilot, or demonstration project
               which, in the judgment of the Secretary, is likely to assist in
               promoting the objectives of [Medicaid] in a State or States –

                       (1) the Secretary may waive compliance with any of the . . .
               [general statutory requirements] . . . to the extent and for the period
               [the Secretary] finds necessary to enable such State or States to carry
               out such project, and

                       (2)(A) costs of such project which would not otherwise be
               included as [Medicaid] expenditures . . ., shall, to the extent and for
               the period prescribed by the Secretary, be regarded as expenditures
               under the State plan or plans approved [by the Secretary] . . . .

        Tennessee has an experimental or demonstration project, “TennCare.” TennCare not

        2
         42 U.S.C. § 1396a.
        3
         42 U.S.C. §§ 1315, 1396, 1396c.

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 only provides for medical assistance to low income individuals who are eligible for

 Medicaid, it also provides for medical assistance to certain uninsured or uninsurable

 individuals who would not otherwise qualify for Medicaid. This latter group is referred to

 as an “expansion waiver population,” and it lies at the heart of the present litigation.

        The Secretary approved TennCare in 1993 in a letter which stated, in part, that

 payments with respect to expansion populations would be “regarded as expenditures under

 the State Title XIX (Medicaid) plan.”4

        A hospital is reimbursed for its treatment of Medicare and Medicaid patients under

 the Prospective Payment System (“PPS”).5 Although payments under PPS are based on a

 predetermined amount for each patient depending upon that patient’s diagnosis at the time

 of his discharge,6 the payments can be adjusted upwardly if a hospital serves a

 disproportionately large number of low-income patients. This increased payment is called

 the “Disproportionate Share Hospital” adjustment, or “DSH.” The 1986 Consolidated

 Omnibus Budget Reconciliation Act (“COBRA”) provides the formula to be used to

 determine if a hospital is entitled to the DSH adjustment.7 The formula includes the sum of

 two fractions. The first fraction – the Medicare fraction – involves a calculation of the

 number of “patient days” that a hospital utilizes in serving inpatients who are entitled to


        4
         AR. pp. 80, 179.
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         42 U.S.C. § 1395ww(d).
        6
         42 U.S.C. § 1395ww(d)(1)-(4).
        7
         42 U.S.C. § 1395ww(d)(5)(F)(v) and (vi).

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 Medicare Part A benefits and Supplemental Security Income.

        The second fraction, the “Medicaid fraction” and the one relevant to this suit, involves

 a calculation of a hospital’s patient days that a hospital spends serving patients who are

 eligible for Medicaid. The numerator is the number of the hospital’s patient days (for the

 reporting period) which consists of patients who were eligible for Medicaid, and who are not

 entitled to benefits under Medicare. The denominator of that fraction is the total number of

 the hospital’s patient days for that reporting period. From a hospital’s perspective, the larger

 the numerator, the higher that hospital’s DSH percentage, and the greater its DSH

 adjustment. Of course, if the numerator is lessened, there will be a concomitant decrease in

 the DSH adjustment.

        The Secretary has contracts with various insurance carriers – “fiscal intermediaries”

 – across the country to administer the fiscal aspect of the medical program. Before 2000

 some intermediaries included expansion populations within the Medicaid fraction, and others

 did not, including those in Tennessee.8 As a result of the inconsistent treatment of the

 expansion populations, in December 1999 the Secretary issued a Program Memorandum A-

 99-62 entitled “Clarification of Allowable Medicaid Days In The Medicare Disproportionate

 Share Hospital (DSH) Adjustment Calculation – Action.”9 In this Memorandum, the

 Secretary stated that a review of the practices and policies regarding the DSH calculation


        8
        St. Thomas Hospital v. Sebelius, Secretary, 705 F.Supp.2nd 905, 909, and 920 (M.D.
 Tenn. 2010).
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         AR. p. 217-223.

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 indicated the need for clarification. The Secretary stated that a patient who is not eligible for

 medical assisted benefits under an approved Title XIX State plan does not generate a

 “Medicaid day” merely because that patient has “some other association with the Medicaid

 program.”10

        In January 2000, the Secretary promulgated an interim final rule that addressed the

 issue of the inclusion of the expansion waiver population within the numerator of the

 Medicaid fraction:

                   Effective with discharges occurring on or after January 20, 2000, for
                   purposes of counting days under paragraph (b)(4)(I) of this section,
                   hospitals may include all days attributable to populations eligible for
                   Title XIX matching payments through a waiver approved under
                   section 1115 of the Social Security Act.11

        In other words, after January 20, 2000, the expansion waiver population was to be

 included within the numerator of the Medicaid fraction. But with regard to pre-January 20,

 2000 policy, the Secretary asserted that “[u]nder current policy . . . [expansion waiver

 populations] . . . were not to be included in the [numerator of the Medicaid fraction] . . . .”12

        For the years 1995-2000, this plaintiff’s fiscal intermediary did not include the

 expansion waiver population in the Medicaid fraction, as a result of which plaintiff’s

 Medicaid reimbursement was far less than what it would have been if that expansion waiver

 population had been included. And thus the dispute: plaintiff argues, on several bases, that


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             AR. p. 218.
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             42 C.F.R. § 412.106(b)(4)(ii).
        12
             65 Fd. Reg. 3136 at I(B).

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 the Secretary was required to include the expansion waiver population in the DSH

 calculation, whereas the Secretary insists that her exclusion of the expansion waiver

 population from the numerator’s fraction is based on her interpretation of the relevant

 statutes, and that her interpretation is correct.

        Judicial review of the Secretary’s decision is accomplished pursuant to the “applicable

 provisions” of the Administrative Procedure Act.13 The “applicable provision” of the

 Administrative Procedure Act is 5 U.S.C. § 706(2), which directs the reviewing court to set

 aside any action or conclusion of the Secretary which the court finds to be arbitrary,

 capricious, an abuse of discretion, or otherwise not in accordance with law; or unsupported

 by substantial evidence.

        There are three cases decided by other courts that address the question now before this

 court: Portland Adventist Medical Center, et al. v. Thompson, Secretary, 399 F.3d 1091 (9th

 Cir. 2005), which held in favor of the plaintiff hospitals and against the Secretary; Cookeville

 Regional Medical Center, et al. v. Leavitt, Secretary, 531 F.3d 845 (D.C. Cir. 2008), which

 held in favor of the Secretary and against the plaintiff hospitals; and St. Thomas Hospital v.

 Sebelius, Secretary, 705 F.2d 905, (M.D. Tenn.), which also held in favor of the Secretary

 and against the plaintiff hospital.14



        13
             42 U.S.C. § 1395oo(f)(1).
        14
          Plaintiff filed an amicus brief in St. Thomas, which district judge Echols considered,
 albeit hesitantly. As is his customary practice, Judge Echols wrote a thorough and well-reasoned
 opinion which addresses every issue raised by plaintiff in the case pending before this court.

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        Plaintiff argues that this court should reverse the Secretary’s decision because (1) her

 decision violates the “plain language” of the Medicaid DSH statute, 42 U.S.C. §

 1395ww(d)(5)(F)(vi)(II);15 and because (2) even if the Secretary had discretion during the

 relevant period of time to determine which kinds of patients should (and should not) be

 considered Medicaid patients for inclusion within the numerator of the Medicaid fraction,

 she nevertheless earlier had determined, without qualification when she approved the

 Tennessee waiver in 1993, that the expansion population “shall be regarded” as eligible for

 medical assistance under Title XIX;16 (3) section 5002 of the Debt Reduction Act of 2005

 (hereafter discussed) does not require exclusion of expansion waiver populations from the

 DSH calculation;17 and (4) the Secretary’s decision is arbitrary and capricious because the

 Secretary failed to consider plaintiff’s arguments and evidence.18

 IS THE MEANING OF THE STATUTE “PLAIN”?

        As ultimately codified, there are two statutes that must be considered together in

 determining whether or not the composite meaning is indeed “plain.” The section that

 specifies what is to be included within the numerator of “Medicaid fraction” is 42 U.S.C. §

 1395ww(d)(5)(F)(vi)(II); that datum is the number of the hospital’s patient days “which

 consists of patients who . . . were eligible for medical assistance under a State plan approved


        15
             Brief, Doc. 18, p. 15.
        16
             Brief, Doc. 18, p. 10.
        17
             Brief, Doc. 18, p. 20.
        18
             Brief, Doc. 18, p. 23.

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 under subchapter XIX . . . .” The other section is 42 U.S.C. § 1315(a)(2)(A) which specifies

 that costs attendant to medical care rendered the expansion waiver populations “shall, to the

 extent and for the period proscribed by the Secretary, be regarded as expenditures under the

 State plan or plans approved [by the Secretary].”

        In Portland Adventist, the Ninth Circuit held that Congress had “clearly expressed its

 intent” that expansion populations be included in the numerator of the Medicaid fraction:

 ‘In the demonstration project statute, Congress expressly tied § 1115 waivers19 to approved

 state Medicaid plans by providing that the costs of such demonstration projects ‘shall . . . be

 regarded as expenditures under the State plan.’” 399 F.3d at 1096.

        The D.C. Circuit, however, reached the opposite conclusion in Cookeville Regional.

 The district court in Cookeville initially had held for the plaintiff hospitals,20 determining

 that the two relevant statutory provisions – 42 U.S.C. § 1395ww(d)(5)(F)(vi) and 42 U.S.C.

 § 1315(a)(2)(A) – “unambiguously required the Secretary to include the expansion waiver

 population in the Medicaid fraction,” 531 F.3d at 847, and the Secretary appealed. While

 that appeal was pending, Congress passed the Deficit Reduction Act of 2005. Section 5002

 of that Act reads as follows:

                  SEC. 5002. CLARIFICATION OF DETERMINATION OF
                  MEDICAID PATIENT DAYS FOR DSH COMPUTATION.

                                                  1.



        19
             I.e., 42 U.S.C. § 1315a(1)(A).
        20
             2005 WL 3276219 (Dist. D.C. 2005).

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                                   << 42 USCA § 1395ww >>

               (a) IN GENERAL.—Section 1886(d)(5)(F)(vi) of the Social Security
               Act (42 U.S.C. 1395ww(d)(5)(F)(vi)) is amended by adding after and
               below subclause (II) the following:
               “In determining under subclause (II) the number of the hospital's
               patient days for such period which consist of patients who (for such
               days) were eligible for medical assistance under a State plan
               approved under title XIX, the Secretary may, to the extent and for the
               period the Secretary determines appropriate, include patient days of
               patients not so eligible but who are regarded as such because they
               receive benefits under a demonstration project approved under title
               XI.”.
               (b) RATIFICATION AND PROSPECTIVE APPLICATION OF
               PREVIOUS REGULATIONS.—
               (1) IN GENERAL.—Subject to paragraph (2), regulations described
               in paragraph (3), insofar as such regulations provide for the treatment
               of individuals eligible for medical assistance under a demonstration
               project approved under title XI of the Social Security Act under
               section 1886(d)(5)(F)(vi) of such Act, are hereby ratified, effective
               as of the date of their respective promulgations.
               (2) NO APPLICATION TO CLOSED COST
               REPORTS.—Paragraph (1) shall not be applied in a manner that
               requires the reopening of any cost reports which are closed as of the
               date of the enactment of this Act.
               (3) REGULATIONS DESCRIBED.—For purposes of paragraph (1),
               the regulations described in this paragraph are as follows:
               (A) 2000 REGULATION.—Regulations promulgated on January 20,
               2000, at 65 Federal Register 3136 et seq., including the policy in such
               regulations regarding discharges occurring prior to January 20, 2000.
               (B) 2003 REGULATION.—Regulations promulgated on August 1,
               2003, at 68 Federal Register 45345 et seq.

        Subsection (a) added language to 42 U.S.C. § 1395ww(d)(5)(F)(vi) that was

 essentially identical to the language already in 42 U.S.C. § 1315a: “the Secretary may, to the

 extent and for the period the Secretary determines appropriate, include patient days of

 patients not so eligible but who are regarded as such because they received benefits under


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a demonstration project approved under Title XI.”

       Subsection (b) of course ratifies the Secretary’s purported policy recited in 65

Fed.Reg. 3136.

       The district court reconsidered its ruling in light of the enactment of the Deficit

Reduction Act, and it reversed itself, holding that the Act was a valid retroactive change in

the law which required a judgment for the Secretary.

       On appeal to the D.C. Circuit, the plaintiffs raised three arguments: that the

controlling law prior to the Deficit Reduction Act unambiguously compelled the Secretary

to include expansion waiver populations in the DSH calculation; that the Deficit Reduction

Act that purported to ratify the Secretary’s earlier policies was a substantive change in the

law that precluded retroactive application; and that the Deficit Reduction Act could not be

applied retroactively because Congress did not clearly indicate its intent in this regard. 531

F.3d at 847.

       The D.C. Circuit commenced its analysis by stating that the law was not as clear as

the Ninth Circuit believed:

               [Plaintiffs’] argument stems from the language providing that the
               costs of a demonstration project “shall” be regarded as expenditures
               under subchapter XIX. See, 42 U.S.C. § 1315a(2)(A). The statute,
               however, modifies the “shall” by indicating that the costs are only
               treated as Medicaid expenditures “to the extent and for the period
               proscribed by the Secretary.” Id. While this clearly gives the
               Secretary control over the duration over the demonstration
               project, the language may do more. Plausibly, the “to the
               extent” language is a grant of discretion to the Secretary to
               determine which costs or how much of the costs are to be treated
               as expenditures.

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531 F.3d at 848.

        In a footnote to the last sentence of the foregoing quote, the court stated:

               The House and Senate reports discussing § 1315 lend support to this
               reading. Both stated that the costs of demonstration projects “could
               be included, for purposes of such participation, as expenditures under
               . . . the State plan approved under any of such titles, but only for the
               period and to the extent prescribed by the Secretary. Senate Rep. 87-
               1589, at 31 (1962), U.S. Code Cong. & Admin. News 1961, pp. 1943,
               1973; H.R. Rep. 87-1414, at 35 (1962).

Id.

        The District of Columbia Circuit concluded its opinion with these words:

               These considerations lead us to conclude that it was unclear, prior to
               the Deficit Reduction Act, whether the Secretary had discretion to
               exclude the expansion waiver population from the proportionate
               share hospital adjustment. It follows that there is no problem with
               retroactivity.

Id.

        The district court in St. Thomas reached the same conclusion as the D.C. Circuit: prior

to the enactment of the Debt Reduction Act in 2005, “ it was, at a minimum, unclear whether

the Secretary had discretion to exclude the expansion waiver population from the DSH

adjustment.” 705 F.Supp.2d at 918.

        The analyses of the D.C. Circuit court and the district court for the Middle District of

Tennessee require no supplementation by a magistrate judge from the Eastern District of

Tennessee. Nevertheless, for the law to be “plain” as plaintiff argues, the words “to the

extent and for the period described by the Secretary” must be excised from 42 U.S.C. §

1315a(2)(A), which the court may not do: “It is ‘a cardinal principle of statutory


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construction’ that ‘a statute ought, upon the whole, to be so construed that, if it can be

prevented, no clause, sentence, or word shall be superfluous, void, or insignificant.’” TRW,

Inc. v. Andrews, 534 U.S. 19, 31 (2001) (internal citations omitted). Therefore, when read

with all the other language in that section, and when that section in turn is read in conjunction

with 42 U.S.C. § 1395ww(d)(5)(F)(vi)(II), there exists, at the very least, a question regarding

authority of the Secretary to include, or exclude, the expansion waiver population in the DSH

calculation.

ASSUMING THE SECRETARY HAD DISCRETION DURING THE RELEVANT
PERIOD OF TIME TO INCLUDE OR EXCLUDE EXPANSION WAIVER
POPULATION PATIENT-DAYS FROM THE DSH CALCULATION, IS SHE
NEVERTHELESS BOUND BY HER EARLIER DETERMINATION TO TREAT
TENNESSEE’S EXPANSION WAIVER POPULATIONS AS ELIGIBLE FOR
MEDICAL ASSISTANCE UNDER THE STATE PLAN?

       The thrust of plaintiff’s argument is that when the Secretary approved the TennCare

waiver, she determined at that same time that the TennCare expansion waiver population

would be regarded as eligible for medical assistance under Tennessee’s Medicaid State plan.

Plaintiff further argues that the Secretary did not qualify her decision by saying that the

individuals would be regarded as eligible for Medicaid for some purposes, but not for some

other purpose such as inclusion within the DSH calculation.

       Plaintiff reads far too much into the Secretary’s letter that approved Tennessee’s

TennCare Demonstration Project.21 Certainly this court does not reach the conclusion from

this language as does the plaintiff. Neither did the district court in St. Thomas; it flatly


       21
            The complete letter appears at AR. p. 177-180.

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rejected plaintiff’s argument. 705 F.Supp.2d at 921.

DOES SECTION 5002 OF THE DEBT REDUCTION ACT OF 2005 REQUIRE
EXCLUSION OF EXPANSION WAIVER POPULATION PATIENT DAYS FROM THE
DSH CALCULATION? AND, IF IT DOES, DOES THE ACT HAVE RETROACTIVE
APPLICATION?

       This particular argument is inextricably related to plaintiff’s initial or basic argument

that the meaning of the statute is “plain.” If the meaning is plain, as plaintiff argues, then §

5002 of the Debt Reduction Act of 2005 effected a substantive change in the law which, so

plaintiff argues, cannot have retroactive effect. But, as discussed earlier in this report, and

in the Cookeville and St. Thomas opinions, the meaning of the statute is far from plain. As

a result, and as Cookeville noted, “there is no problem of retroactivity.” 531 F.3d at 849.

The Act clarified an existing ambiguous law and undertook to ratify the Secretary’s prior

policy of excluding expansion waiver populations from the DSH calculation. By definition,

a “clarification” presupposes an intent for retroactive application, St. Thomas, 705 F.Supp.2d

at 919. The same logic applies to a “ratification” of the Secretary’s policies.

WAS THE SECRETARY’S DECISION ARBITRARY AND CAPRICIOUS BECAUSE
SHE FAILED TO CONSIDER PLAINTIFF’S ARGUMENTS?

       In reality, this is not a separate theory or argument at all. According to plaintiff’s

brief, what the Secretary failed to consider was plaintiff’s arguments that the plain meaning

of the statute required inclusion of expansion waiver days in the DSH calculation, and in any

event the Secretary had made an earlier and unqualified determination that Tennessee’s

expansion population was eligible for medical assistance under the State plan. Each of those

arguments has been addressed and need no further discussion.

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DID THE SECRETARY HAVE AN ESTABLISHED POLICY BEFORE 2000 OF
EXCLUDING EXPANSION WAIVER POPULATIONS FROM THE DSH
CALCULATION? AND, IF THERE WAS SUCH A POLICY, IS ITS APPLICATION
PRIOR TO JANUARY 2000 PRECLUDED BECAUSE OF THE SECRETARY’S
FAILURE TO PUBLISH IT IN THE FEDERAL REGISTER?

       This argument is advanced in plaintiff’s complaint,22 but not in its motion for

summary judgment. Apart from the complaint, this argument does not appear again until the

penultimate paragraph of its opposition-reply brief.23

       Plaintiff argues that there could be no “policy” because the Secretary failed to publish

same in the Federal Register as required by 42 U.S.C. § 1395hh(c)(1), which reads as

follows:

                  (c) Publication of certain rules; public inspection; changes in data
                  collection and retrieval

                          (1) the Secretary shall publish in the Federal Register, not less
                  frequenlty than every 3 months, a list of all manual instructions,
                  interpretative rules, statementsof policy, and guidelines of general
                  applicability which –

                                  (A) are promulgated to carry out this subchapter, but

                                 (B) are not published pursuant to subsection (a)(1) of
                  this section and have not been previously published in a list under
                  this subsection.

       However, as subsection (B) above reflects, there is no requirement to publish in the

Federal Register a “policy” that already has been published in rule form in the Code of

Federal Regulations. As far back as 1994 and each year thereafter, substantially similar


       22
            Complaint, ¶ 78.
       23
            Doc. 21, p. 24.

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language appears in 42 C.F.R. § 412-106 with regard to the DSH calculation:

                 Second Computation. The fiscal intermediary determines, for the
                 hospital’s cost reporting period, the number of patient days furnished
                 to patients entitled to Medicaid but not to Medicare Part A, and
                 divides that number by the total number of patient days in the same
                 period.24

       Plaintiff argues that the words “patients entitled to Medicaid” include the expansion

waiver population, which of course is a variation of one or more of its other arguments, viz.,

that the “plain meaning” of the statute requires inclusion of the expansion waiver population

in the DSH calculation, or that the Secretary always considered the expansion waiver

population to be “Medicaid patients.” Those arguments are addressed in Cookeville, and

even more exhaustively addressed in St. Thomas.

CONCLUSION

       The Ninth Circuit’s decision in Portland Adventist is premised on its conclusion that

the relevant statute is unambiguous. The D.C. Circuit disagreed with that premise, the

district court for the Middle District of Tennessee disagreed, and this court disagrees.

Portland Adventist was wrongly decided. Conversely, both Cookeville and St. Thomas25 are

well-reasoned and their conclusion is the correct one.

       Notwithstanding inconsistent treatment of expansion waiver populations across the

country by fiscal intermediaries, the Secretary had a policy during the years 1995-2000 of


       24
            42 C.F.R. § 412106(b)(4). (1994).
       25
        According to Pacer, the judgment in St. Thomas (3:08-CV-01041), was filed on March
31, 2010, and the plaintiff has not pursued an appeal.

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not including those populations in the numerator of the Medicaid fraction. The Debt

Reduction Act of 2005, which undertook to ratify that policy, was intended by Congress to

have retroactive effect, and in fact it does.

       It is respectfully recommended that defendant’s motion for summary judgment (Doc.

19) be granted, and that plaintiff’s motion for summary judgment (Doc. 17) be denied.26

       Respectfully submitted,


                                                         s/ Dennis H. Inman
                                                     United States Magistrate Judge




       26
          Any objections to this report and recommendation must be filed within fourteen (l4)
days of its service or further appeal will be waived. 28 U.S.C. § 636(b)(1)(B) and (C). United
States v. Walters, 638 F.2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).


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